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                                                                                       UNITED STATES DISTRICT COURT
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                                                               13                     CENTRAL DISTRICT OF CALIFORNIA
SRIPLAW




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                                                                    JEFFREY B. SEDLIK, an individual,              Case No.: 2:21-cv-01102-DSF-MRWx
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                                                               17                                 Plaintiff,       NOTICE OF PLAINTIFF’S
                                                               18                                                  UNOPPOSED MOTION TO
                                                                    v.                                             CONTINUE TRIAL AND
                                                               19                                                  ASSOCIATED TRIAL DATES
                                                               20   KATHERINE VON DRACHENBERG
                                                                    (a.k.a. “KAT VON D”), an individual; et        Judge: Hon. Dale S. Fischer
                                                               21   al.,                                           Date: June 27, 2022
                                                               22                                                  Time: 1:30 p.m.
                                                               23                              Defendants.         Courtroom: 7D

                                                               24                                                  Trial Documents (Set One): 6/7/22
                                                               25                                                  Trial Documents (Set Two): 6/14/22
                                                                                                                   Current Pretrial Date: 6/27/22
                                                               26                                                  Current Trial Date: 7/26/22
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                                                                1         TO THE HONORABLE COURT, ALL PARTIES AND THEIR RESPECTIVE
                                                                2 COUNSEL OF RECORD:
                                                                3         PLEASE TAKE NOTICE THAT ON June 27, 2022, or as soon thereafter as
                                                                4 counsel may be heard, in courtroom 7D of the Honorable Judge Dale S. Fischer,
                                                                5 located in the United States Courthouse, 350 W. First Street, 7th Floor, Los Angeles,
                                                                6 CA 90012, Plaintiff Jeffrey B. Sedlik, (“Sedlik”) hereby moves the Court for an order
                                                                7 granting the within unopposed Motion to Continue Trial and Associated Pretrial Dates
                                                                8 (the “Motion”).
                                                                9         Through this Motion, Sedlik seeks an Order continuing the pretrial conference
          CALIFORNIA ◆GEORGIA ◆FLORIDA ◆TENNESSEE ◆NEW YORK




                                                               10 set for June 27, 2022, and trial set for July 26, 2022, and associated pretrial document
                                                               11 due dates. (ECF 19). Sedlik seeks that the Court continue the trial schedule as follows:
                                                               12 Trial Documents (Set One) from June 7, 2022, to August 2, 2022, the Trial
                                                               13 Documents (Set Two) from June 14, 2022, to August 9, 2022, pretrial conference
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                                                               14 from June 27, 2022, to August 23, 2022, and the trial from July 27, 2022, to
                                                               15 September 20, 2022.
                                                               16         This motion is made unopposed after conference of counsel pursuant to L.R. 7-
                                                               17 3. Defendants have agreed not to oppose this Motion.
                                                               18         This Motion is based on this Notice of Motion, the attached Memorandum of
                                                               19 Points and Authorities, the Declaration of Jonah A. Grossbardt filed concurrently
                                                               20 herewith, all of the pleadings, files and records in this proceeding, all other matters of
                                                               21 which the Court may take judicial notice, and any argument or evidence that may be
                                                               22 presented to or considered by the Court prior to its ruling.
                                                               23
                                                               24 DATED: May 18, 2022                      Respectfully submitted,
                                                               25
                                                               26                                          /s/ Jonah A. Grossbardt
                                                                                                           JONAH A. GROSSBARDT
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                                                                                                           SRIPLAW
                                                               28                                          Attorneys for Plaintiff Jeffrey B. Sedlik


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